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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

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                                                             :
In re                                                        :        Chapter 11
                                                             :
CHECKOUT HOLDING CORP, et al.,                               :        Case No. 18-12794 (KG)
                                                             :
                           Debtors.1                         :        Jointly Administered
                                                             :
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                NOTICE OF AGENDA OF MATTERS SCHEDULED
         FOR HEARING ON JANUARY 31, 2019 STARTING AT 10:00 A.M. (EST)2

I.       ADJOURNED MATTER:

         1.        Motion of Debtors Pursuant to 11 U.S.C. § 365(a) for Authority to Reject NCS
                   Joint Venture Agreements [D.I. 209; filed January 11, 2019]

                   Response/Objection Deadline:                  January 25, 2019 at 4:00 p.m. (EST)

                   Responses/Objections Received:                Informal response of The Nielsen Company
                                                                 (US), LLC and NC Ventures, LLC
                                                                 (together, “Nielsen”)

                   Status: The Debtors and Nielsen have reached an agreement in principle to
                           resolve this matter. The hearing on this matter is adjourned without date
                           while the Debtors and Nielsen work to definitively document their
                           agreements.


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          The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal
tax identification number, are: Catalina Marketing Corporation (9007); Catalina Marketing Procurement,
LLC (9333); Catalina Marketing Technology Solutions, Inc. (8728); Catalina Marketing Worldwide, LLC
(9687); Cellfire Inc. (5599); Checkout Holding Corp. (4651); Modiv Media, Inc. (3507); PDM Group
Holdings Corporation (9148); PDM Holdings Corporation (5025); PDM Intermediate Holdings A
Corporation (6409); and PDM Intermediate Holdings B Corporation (3278). The Debtors’ principal
offices are located at 200 Carillon Parkway, St. Petersburg, FL 33716.
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           The January 31, 2019 hearing (the “January 31st Hearing”) will be before The Honorable
Kevin Gross at the United States Bankruptcy Court for the District of Delaware, 824 North Market Street,
6th Floor, Courtroom 3, Wilmington, Delaware 19801. Any person who wishes to appear telephonically
at the January 31st Hearing must contact COURTCALL, LLC at 866-582-6878 prior to 12:00 p.m. (noon)
(Eastern Standard Time) on Wednesday, January 30, 2019, to register his/her telephonic appearance
in accordance with the Instructions for Telephonic Appearances Effective January 5, 2005, Revised May
11, 2018.



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II.      COMBINED HEARING ON APPROVAL OF DISCLOSURE STATEMENT AND
         CONFIRMATION OF PLAN:

         2.        Joint Prepackaged Chapter 11 Plan of Checkout Holding Corp. and its Affiliated
                   Debtors (Solicitation Version) [D.I. 11; filed December 12, 2018] (as amended,
                   modified, and supplemented from time to time, the “Plan”)

                   Response/Objection Deadline:        January 24, 2019 at 4:00 p.m. (EST);
                                                       extended to January 25, 2019 at 4:00 p.m.
                                                       (EST) for the United States of America (the
                                                       “United States”); extended to January 28,
                                                       2019 at 5:00 p.m. (EST) for the Office of the
                                                       United States Trustee for the District of
                                                       Delaware (the “U.S. Trustee”)

                   Responses/Objections Received:

                   A.     Texas Taxing Jurisdictions’ Objection to the Confirmation of Debtors’
                          Joint Prepackaged Chapter 11 Plan [D.I. 228; filed January 22, 2019]

                   B.     Objection of Dole Packaged Foods, LLC to Joint Prepackaged Chapter 11
                          Plan of Checkout Holding Corp. and its Affiliated Debtors (REDACTED)
                          [D.I. 235; filed January 24, 2019]

                   C.     Informal comment from the United States

                   D.     Informal comment from the U.S. Trustee

                   Related Documents:

                   i.     Disclosure Statement for Joint Prepackaged Chapter 11 Plan of Checkout
                          Holding Corp. and its Affiliated Debtors (Solicitation Version) [D.I. 12;
                          filed December 12, 2018] (the “Disclosure Statement”)

                   ii.    Order (I) Scheduling Combined Hearing to Consider (A) Approval of
                          Disclosure Statement, (B) Approval of Solicitation Procedures and Forms
                          of Ballots, and (C) Confirmation of Prepackaged Plan; (II) Establishing an
                          Objection Deadline to Object to Disclosure Statement and Plan; (III)
                          Approving the Form and Manner of Notice of Combined Hearing,
                          Objection Deadline, and Notice of Commencement; (IV) Conditionally
                          Waiving Requirement of Filing Statement of Financial Affairs and
                          Schedules of Assets and Liabilities; (V) Conditionally Waiving
                          Requirement to Convene the Section 341 Meeting of Creditors; and (VI)
                          Granting Related Relief [D.I. 107; filed December 13, 2018] (the
                          “Scheduling Order”)

                   iii.   Notice of Commencement of Cases Under Chapter 11 of the Bankruptcy
                          Code and Summary of Joint Prepackaged Chapter 11 Plan and Notice of
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                           Hearing to Consider (A) Debtors’ Compliance with Disclosure
                           Requirements and (B) Confirmation of Plan of Reorganization [D.I. 121;
                           filed December 13, 2018]

                   iv.     Notice of Rescheduled Hearing Time [D.I. 180; filed January 9, 2019]

                   v.      Notice of Filing Plan Supplement in Connection with Joint Prepackaged
                           Chapter 11 Plan of Checkout Holding Corp. and its Affiliated Debtors
                           [D.I. 217; filed January 16, 2019]

                   vi.     Notice of Extension of Voting Deadline to Accept or Reject Plan to
                           January 29, 2019 at 5:00 p.m. (EST) [D.I. 226; filed January 22, 2019]

                   vii.    Notice of Filing of Second Plan Supplement in Connection with Joint
                           Prepackaged Chapter 11 Plan of Checkout Holding Corp. and its
                           Affiliated Debtors [D.I. 236; filed January 24, 2019]

                   viii.   Debtors’ Memorandum of Law in Support of (I) Approval of Debtors’
                           Disclosure Statement, (II) Final Approval of Solicitation Procedures, and
                           (III) Confirmation of Joint Prepackaged Chapter 11 Plan of Checkout
                           Holding Corp. and its Affiliated Debtors [D.I. 245; filed January 28, 2019]

                   ix.     Declaration of Robert A. Del Genio in Support of Debtors’ Request for (I)
                           Approval of Debtors’ Disclosure Statement, (II) Final Approval of
                           Solicitation Procedures, and (III) Confirmation of Joint Prepackaged
                           Chapter 11 Plan of Checkout Holding Corp. and its Affiliated Debtors
                           [D.I. 246; filed January 28, 2019]

                   x.      Declaration of Marc Puntus in Support of Debtors’ Request for (I)
                           Approval of Debtors’ Disclosure Statement, (II) Final Approval of
                           Solicitation Procedures, and (III) Confirmation of Joint Prepackaged
                           Chapter 11 Plan of Checkout Holding Corp. and its Affiliated Debtors
                           [D.I. 247; filed January 28, 2019]

                   xi.     Notice of Filing of Proposed Findings of Fact, Conclusions of Law, and
                           Order (I) Approving the Debtors’ (A) Disclosure Statement Pursuant to
                           Sections 1125 and 1126(b) of the Bankruptcy Code, (B) Solicitation of
                           Votes and Voting Procedures, and (C) Forms of Ballots, and (II)
                           Confirming the Joint Prepackaged Chapter 11 Plan of Checkout Holding
                           Corp. and its Affiliated Debtors [D.I. 248; filed January 28, 2019]

                   xii.    Withdrawal of the Texas Taxing Jurisdictions’ Objection to the
                           Confirmation of the Debtors’ Joint Prepackaged Chapter 11 Plan [D.I.
                           249; filed January 29, 2019]

                   xiii.   Notice of Further Rescheduled Hearing Time [D.I. 250; filed January 29,
                           2019]

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                   Status: In accordance with the Scheduling Order, a combined hearing to consider
                           approval of the Disclosure Statement and confirmation of the Plan will go
                           forward. The Debtors have resolved all of the formal objections and
                           informal comments received in connection with this matter by the
                           inclusion of agreed language in the proposed form of confirmation order.
                           See D.I. 248; Ex. 1. Consequently, the hearing on this matter will go
                           forward on an uncontested basis.

Dated: January 29, 2019
       Wilmington, Delaware
                                                /s/ Jason M. Madron
                                          Mark D. Collins (No. 2981)
                                          Jason M. Madron (No. 4431)
                                          Brett M. Haywood (No. 6166)
                                          Travis J. Cuomo (No. 6501)
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                                          - and -

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                                          Jessica Liou (admitted pro hac vice)
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                                          Attorneys for the Debtors and Debtors in Possession




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